         Case 1:21-cr-00418-RDM Document 50 Filed 02/16/23 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :

               v.                            :       CRIMINAL NO. 21-418

ERIC J. BOCHENE                              :

                                           ORDER

               AND NOW, this               day of                      , 2023, upon consideration

of the Government's Motion to Amend Caption of the Information, it is hereby

                                         ORDERED

that the caption of the Information in this matter shall be amended to charge United States of

America v. Eric J. Bochenek, a/k/a Eric J. Bochene, and all future notices, pleadings and

documents filed in this matter shall reflect the amended caption.

                                             BY THE COURT:




                                             HON. RANDOLPH D. MOSS
                                             United States District Court Judge
            Case 1:21-cr-00418-RDM Document 50 Filed 02/16/23 Page 2 of 4




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                      :

                v.                            :       CRIMINAL NO. 21-418

ERIC J. BOCHENE                               :

                           GOVERNMENT'S MOTION TO AMEND
                           THE CAPTION OF THE INFORMATION

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to amend the caption of the Information in this

matter and in support states as follows:

       1.       On June 21, 2021, the United States Attorney filed an Information in this district

 that charged Eric J. Bochene with Entering and Remaining in a Restricted Building, in violation

 of 18 U.S.C. § 1752(a)(1) (Count One); Disorderly and Disruptive Conduct in a Restricted

 Building, in violation of 18 U.S.C. § 1752(a)(2) (Count Two); Violent Entry and Disorderly

 Conduct and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40

 U.S.C. S 5102(e)(2)(D) (Count Three); and, Parading, Demonstrating, or Picketing in a Capitol

 Building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Four).

        2.      The defendant known as Eric J. Bochene has offered a copy of his birth certificate

and offered to this Court that his name is actually Eric Joseph Bochenek.

       Wherefore, the government moves pursuant to Rule 12(b) of the Federal Rules of

Criminal Procedure to amend the caption of the Information in this matter to charge United

States of America v. Eric J. Bochenek, a/k/a Eric J. Bochene, and direct that all future notices,
         Case 1:21-cr-00418-RDM Document 50 Filed 02/16/23 Page 3 of 4




pleadings and documents filed in this matter reflect the amended caption.

                                            Respectfully submitted,

                                            MATTHEW GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                            /s/ Anita Eve
                                            ANITA EVE
                                            Assistant United States Attorney (Detailee)
                                            PA Bar No. 45519
                                            Cell No. (215) 764-2177
                                            Anita.eve@usdoj.gov

                                            MATTHEW GRAVES
                                            United States Attorney


                                            /s/ ANITA EVE_________________
                                            Anita Eve
                                            Assistant United States Attorney
         Case 1:21-cr-00418-RDM Document 50 Filed 02/16/23 Page 4 of 4




                                 CERTIFICATE OF SERVICE

    I hereby certify that a true and correct copy of the Government's Motion to Amend the

Caption of the Information has been filed and served upon the parties listed on the Electronic Case

Filing (ECF) System, is available for viewing and downloading from the ECF system, and served

by electronic mail upon the following:



                              Eric J. Bochenek, a/k/a Eric J. Bochene
                              mail@sansmetics.net
                              ericbochene@gmail.com
                              xomox.codev@icloud.com




                                                   _/s Anita Eve__________________
                                                   ANITA EVE
                                                   Assistant United States Attorney


Date: February 16, 2023
